                                                                            Commonwealth of Virginia
                                                                                  Department of Health
                                                                     Office of the Chief Medical Examiner
                                                                                    CENTRAL DISTRICT



                                                                            REPORT OF INVESTIGATION



                  RICKY                                      JAVON                                 GRAY
                  First Name                                 Middle Name                           last Name
       SSN        23 1-90-9679
Home Address            GREENSVILLE CORRECTIONAL CENTER JARRATT,                              VA   23870
                               Number and Street                           City, State, Zip

Age     39 Yrs                  DOB 31911977               Sex   MALE            Last Known Occupation


Race    BLACK                              Hispanic?        NO


MEDICAL EXAMINER AUTHORITY                      VIOLENT OR UNNATURAL

Police Notified       YES        Investigator      TALBOT




                                   DATE                TIME
                                 (MM/ODIYY)            (24h)                    LOCATION                                     CITY/ COUNTY          BY WHOM

  LAST KNOWN                   1/1812017           2142            GREENSVILLE CORRECTIONAL                             GREI;':NS Vll.LE COUNTY.   CORRECflONAL STAFF,
  ALIVE                                                            CENTER                                               VA                         OTHER

                               1118/2017                           GREENSVILLE CORRECTIONAL                             GREENSVILLE                CORRECTIONAL STAFF,
  EVENT/ INJURY                                    2 142
                                                                   CE 'TER                                              COUNTY,VA                  OTHER
  ACUTE ILLNESS


  FOUND                     1/ 18/ 20 17           2142            GREENSVILLE CORRECfl ONAL                            GREENSVILLE                CORRECTIONAL STAFF.
                                                                   CENTER                                               COUNTY, VA                 OTHER

                            1/ 18/20 17            2142            GREENSVILLE CORRECTIONAL                            GREENSVILLE COUNTY.         CORRECTIONAL STAFF
  DEATH/
                                                                   CENTER                                              VA
  PRONOUNCED

 EXAMINATION                1/1 91201 7            0915            400 EAST JACKSON STREET                              RI CHMOND , VA
 OF BODY

 Cause of Death:                                                                                               Autopsy (YIN):       y
                                                                                                                                   ~~~~~~~~~~~~~~~~!


                                                                                                               Authorized by

                                                                                                               Pathologist         HAYS, MICHAEL

                                                                                                               Autopsy No          C004 1-1 7

                                                                                                                                   CENTRAL OCME




                                            JEFFERY GOFTON
                                           Name of Assistant Chief Medical Examiner




                                           WILLIAMS-AMADO, SANDRA




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                                                                                                                                                     Attachment 38
                                                                                       MEDICAL HISTORY

                                                                                                  Odrug abuse                                                        O emphysema


 Oseizure disorder (cause)                                               O cancer                                          O diabetes        D hypertension          Oatherosderosis


 Ostroke       O psychiatric diagnosis (specify)                                                                                    Odementia (specify)

 O recent trauma (speedy)



 Oacute infections (specify)




Treating MD




Medications




 Summary of Circumstances:
   l11is 39 yc:ar old irnnate underwent a c:.ourt·Orde;:rt::d execution by lethal injection Tht postmmtt:m examination showed no trauma. Posunortcm1 dru~ tt sting
showed 11te prescnc~ ofmidazolam and rocuronium in his system.




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                                                                                                                                                                        Attachment 38
                                                    DEPARTMENT OF HEA LT H
                                            OFFICE OF THE CHIEF MEDICAL EXAMINER
                                                   400 EAST JACKSON STREET
                                                   RICHMOND, VIRGINIA 23219
      Autopsy       0041-1 7
      File#
      Date/Dav
      Time          0915 hours
                                                           RE PORT OF AU TOPSY
      DECEDENT                 Ricky
      Autopsy Authorized by: Dr. Michael Hays, M.E. for Greensville Count\'.
      BODY JDENTIFIED BY:                                              PERSONS PRESENT AT AUTOPSY:
      Department of Corrections                                        J. Banning, Jeffery Gofton, M.D.


     CLOTHING,         PERSONAL        EFFECT S,     EXTERNAL         WOUNDS,     SCARS,     TATTOOS,       OTHER       IDENTIFYING
     FEATURES:
     CLOTHING: The decedent is received clad in a pair of blue jeans, a shirt, and a pair of boxer shorts . All clothing is receipted as
     evidence.
     PERSONAL EFFECTS: The decedent is recei ved with elastic bandages binding the wrists and ankl es. A bed sheet is present in
     the body bag. All personal effects are receipted as evidence.
     EXTERNAL EXAMINATION: The boay is that of a well-developed, well-nourished, adult male with an overall appearance
     consistent with the reported age. The comeae are clear and the sclerae are white and unremarkable. The conjunctivae are pink and
     without petechiae. The dentition is natural. The external and mucosa! aspects of the lips are without injury. The facial skeleton is
     palpably intact. The nares and external auditory canals are free of foreign material. Blood-tinged fluid is present from the mouth.
     The neck is symmetrical and has a range of mobility within nonnal limits. The chest and back are symmetrical and atraumatic. The
     abdomen is protuberant and unremarkable. The hands are received unbagged. There is no evidence of blood or injury on the hands
     or foreanns. A Y. inch abrasion is present on the posterior aspect ot the right ankle. The lower extremilles are otherwise
     symmetrical and atraumatic.                                                                                                 •
     SCARS: Linear scar on the anterior aspect of the right shoulder; i1Tegular scar on the left eyebrow.
     TATTOOS: "Coolie High" on right arm.
     MARKS OF MEDICAL INTERVENTION: IV in the right antecubital fossa with attached empty bag of0.9% sodium chloride;
     IV in the left antecubital fossa with attached bag of 0.9% sodium chloride with approximately 600 ml remaining; two puncture
     marks in the right antecubital Fossa; two puncture marks in the left antecubital fossa; EKG leads over the chest and abdomen.
     HlSTORY: Judicial execution.
     PATHOLOGICAL DIAGNOSES:
     Lethal injection of drugs due to judicial execution.
              Postmortem toxicology (iliac blood) -
                   Rocuronium 4100 ng/mL
                   Midazolam 1.5 mg/[
                   Alpha-Hydroxym1dazolam present
                   Diazepam present, less than 0.0 I 0 mg/L
                   Nordiazepam 0.021 mg/L
     Pulmonary edema (combined weight 1,601 grams).
     Hypertensive and atherosclerotic cardiovascular disease.
             Coronary artery disease, two-vessel, mild to moderate.
             Cardiomegaly (526 grams).
             Mild aortic atherosclerosis.
             Hypertensive change of the kidneys.
     Hepatosplenomegaly.
..   Macrovesicular steatosis .


     Cause of Death:     Lethal injection o f drugs due to judicial execution.




                                            Richmond Cit
                                           Place of Autopsy
                                       JUL 0 3 2018


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                                          Autopsy #000041-17
GROSS DESCRIPTION                                                              Page #2

SEROUS CAVITIES:         Smooth and glistening wit h no adhesions or abnormal fluid collections. The organs are in their usual
                         anatomic locations.
HEART:                   526 grams. The epicardial surface is smooth and ofistening. The heart appears grossly enlaroed. The
                         coronary arteries arise in the usual fashion and follow tlieir typical distributions. The left anterior
                         descending artery demonstrates approximately 60% atherosclerotic narrowing while the right coronary
                         artery demonstrates approximately 40% narrowing. The remainder of the coronary vasc ulature is free of
                         any significant stenosis. Serial sections through the heart demonstrate red/brown, firn1 myocardium with
                         no focal lesions seen. The left ventricle measures I .3 cm in thickness, while the interventricular septum
                         and right ventricle measure l.4 cm in and 0.3 cm, respectively. The atrial and ventricular sept.a are intact.
                         The valves are unremarkable.
                         Intact with mild atherosclerosis noted. All major vascular ostia are probe patent.
                         Soft tissues and strap muscles of the neck are unremarkable and without evidence of injury. The hyoid
                         bone and laryngeal cartilages are intact. The thyroid gland is unremarkable.
LUNGS:                   Right - 886 orams, left - 7 15 grams. The upper airways contains foamy liquid. The pleural surfaces are
                         smooth and glistening with scattered reticular anthracos1s. Cut sections through the lungs demonstrate soft,
                         red/puple parenchyma which exudes an abundant amount of fluid on cut surfaces. No focal lesions are
                         seen. 1 he pulmonary arteries are patent and without thrombus or em bolus.
                         Within normal limits.
LIVER:                   2, 158 grams. Intact capsule covering moderatel y congested, red/brown
                         exhibits neither focal lesions nor evidence of fatty change or cirrhosis.
                         Contains a moderate amount of green/yellow bile. Unremarkable mucosa with no evidence of stones.
SPLEEN:                  233 grams. Intact capsule covering moderately firm , unremarkable parenchyma.
PANCREAS:                Tan/yellow lobulated cross-sections with nonnal architecture.
ADRENAL GLANDS:          Within normal limits.
GI TRACT:                The tongue has no evidence of injurv. The esopha&us is unremarkable. The stomach exhibits the usual
                         rugal folds and contains approximately 50 ml or brown chyme. The small and large bowel are
                         unremarkable. The appendix 1s present.
KIDNEYS:                 Right - 217 grams, left - 23 I grams. The capsules strip easily to reveal smooth, regular contours. The
                         renal parenchyma is red/brown with well-demarcated corticomedullary junctions. The pelvises and ureters
                         are unremarkable and without evidence of distension.                  ·
BLADDER:                 Contains a moderate amount of translucent, yellow urine. The mucosa is pink/white and unremarkable.
GENITALIA:               The internal genitalia are grossly unremarkable and appropriate for age.
BRAIN & MENINGES:        1,286 grams. The dura mater is intact. The Ieptomeninges are thin and delicate. There is no evidence of
                         epidural, subdural, or subarachnoid hemorrhage. The vessels at the base of the brain are intact and
                         unremarkable. Serial sections through the cere5ral hemispheres demonstrate a regular cortical ribbon with
                         crisp gray/white junctions. No focal lesions are seen . The lateral ventricles are of the usual caliber. Serial
                         sections through the brainstem and cerebellum are with in nonnal limits.
MUSCULOSKELETAL: No bone or joint abnormalities are present. The skeletal muscle is red/tan and moist with a mass appropriate
                 for the deceaent's age and sex.


MICROSCOPIC SECTIONS: Heart, lung, liver, kidney, brain .
OTHER LAB PROCEDURES: PHOTO x MICRO x TOX x X-RAY FfNGERPRINTS x DENTAL
HIV HEPATITIS BACTERIOLOGY VIROLOGY ACCELERANTS OTHER

DISPOSITION OF EVIDENCE:
TOXICOLOGY - Vitreous, iliac blood x2, and uri ne to DFS; iliac blood to NMS.
OCME - EDTA , tiger top, liver, and bile.
INVESTIGATOR - Clothing and personal effects.
FUNERAL HOME - None.




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                           Mild interstitial fibrosis.



                           Severely congested and focally edematous pulmonary parenchyma wit h extravasated red cells present in
                           the airspaces. Anthracotic pigment deposition is noted .



                           Congested hepatic tissue with normal architecrural fearures and
                           steatosis. Scant periportal mononuclear inflammation is present.



                           Appropriately organized renal parenchyrna wiih hypertensive change.



                           Examination of the cerebral cortex and cerebellum
                           ischemic changes are present throughout .




SUMMARY:
According to report, this thirty-nine year old black mate was an inmate at Greensville Correctional Center that was sentenced to death
by lethal injection . This sentence was carried out on I/ 18/20 t 7.
Autopsy examination revealed puncture marks and IV access in the bilateral antecubital fossae. Postmortem toxicology showed the
presence of the short-acting benzodiazepine midazolam and its metabolite, alpha-hydroxymidazolam. The neuromuscular blocker
rocuronium was present at a therapeutic level. The decedent' s prescribed diazepam and its metabolite, nordiazepam. were also
detected . Potassium levels cannot be evaluated as they are obscured by post-mortem cell death . There was no evidence of traumatic
injury.
Incidental natural pathology included hypertensive and atherosclerotic cardiovascular disease and fatty change of the liver.




CAUSE OF DEATH:


MANNER OF DEATH:
Homicide.




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                          C2017-632 12



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                                                  Commo nwea Ith of Virginia
                                       DEPARTMENT OF FORENSIC SCIENCE

                                                 CERTIFICATE OF ANAl YSIS


                                                        February 17, 20 I 7




Your Case #:

Victim(s):         GRAY, Ricky

Suspect(s):

Evidence Submitted By:         Scott Banning

  Item TXI
  Item TX2
  Item TX3

RESULTS:


Item TXI
Iliac Blood :
     Ethanol none detected
     Midazolam 1.5 mg/L
    Alpha-Hydroxymidazolam present
    Oiazepam present, less than 0.0 I0 mg/L
    Nordiazepam 0.021 mg/L
    No other drugs and/or drug classes were detected.




Item TX2




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                                       CERTIFICATE OF ANALYSIS

Otlice of the Chief Medical Examiner
FS Lab Ii C l 7-812
Your Case II C2017-63212 , COO~ 1-17
February 17, 2017




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